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 Omnibus                                                 Claim     Docket
                             Respondent                                                         Status1
Objection                                               Number     Number

                   Inland US Management, LLC and        10024               The status hearing on this response is
                   Inland Continental Property           9722               adjourned to July 13, 2011 at 2:00 p.m.
    19             Management Corporation               10020       4106


                                                                            The status hearing on this response is
    22             Cormark, Inc.                         7304       4100    adjourned to July 13, 2011 at 2:00 p.m.


                                                         2722               The status hearing on this response is
    31             Glenn Cordell Duncan                  2725       4755    adjourned to July 13, 2011 at 2:00 p.m.
                                                                            The status hearing on this response is
    31             Gary R. Lowe                          5144       4810    adjourned to July 13, 2011 at 2:00 p.m.
                                                                            The status hearing on this response is
    31             Minnie B. Hatcher                     3548       4811    adjourned to July 13, 2011 at 2:00 p.m.
                                                                            The status hearing on this response is
    31             Eisner, Roy                           3025       4821    adjourned to July 13, 2011 at 2:00 p.m.
                                                                    4823    The status hearing on this response is
    31             Jonathan Card                         6040       4943    adjourned to July 13, 2011 at 2:00 p.m.
                                                                            The status hearing on this response is
    31             Brad C. King                          3634       4842    adjourned to July 13, 2011 at 2:00 p.m.
                   Chase Bank USA, National                                 The status hearing on this response is
    31             Association                           7065       4899    adjourned to July 13, 2011 at 2:00 p.m.


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  For all status hearings on responses that are being adjourned, the respondent does not need to
appear at the June 9, 2011 hearing.



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 Omnibus                                                 Claim       Docket
                             Respondent                                                         Status1
Objection                                               Number       Number
                                                                              The status hearing on this response is
    31             Antor Media Corporation               6347         4926    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    31             Joseph Skaf                           8717         4946    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              This matter has been settled pending
                                                                              documentation of the agreement.

                                                                              The status hearing on this response is
    31             Richard and Deborah Jaynes            3427         4951    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    31             Unical Enterprises, Inc.              6555         4975    adjourned to July 13, 2011 at 2:00 p.m.


                   Sensormatic Electronic                                     The status hearing on this response is
    33             Corporation                           6317         4906    adjourned to July 13, 2011 at 2:00 p.m.


                                                                              This matter has been resolved pursuant to
    36             Victoria L. Eastwood                 13994         4790    order of this Court.
                                                         4306         4813    This matter has been resolved pursuant to
    36             Douglas A. Daniluk                   14056         4814    order of this Court.
                                                                              This matter has been resolved pursuant to
    36             Francis E. Telegadas                  5666         4824    order of this Court.
                                                                              This matter has been resolved pursuant to
    36             Christopher N. Crowe                  3601         4826    order of this Court.
                                                         8662                 This matter has been resolved pursuant to
    36             Anne B. Fath                         13935         4828    order of this Court.
                                                                              This matter has been resolved pursuant to
    36             Stephen T. Saunders                   6825         4837    order of this Court.
                                                                              This matter has been resolved pursuant to
    36             David W. Phillips                     9315         4844    order of this Court.


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 Omnibus                                                 Claim       Docket
                             Respondent                                                         Status1
Objection                                               Number       Number
                                                                              This matter has been resolved pursuant to
    36             Corey Rachel                          9996         4852    order of this Court.
                                                        13527                 This matter has been resolved pursuant to
    36             Elizabeth R. Warren                   4378         4910    order of this Court.
                                                        13410                 This matter has been resolved pursuant to
    36             Michael W. Beam                       6022         4958    order of this Court.
                                                                              The Court previously stated on the record
                                                        14432         4969    that it would sustain the Objection as it
    36             Laura McDonald                        8108         4970    relates to this claim.


                                                                              The hearing on the Debtors’ Motion for
                                                        11213                 Partial Summary Judgment has been
    37             City of Brighton, Michigan           13834         5065    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The hearing on the Debtors’ Motion for
                                                                              Partial Summary Judgment has been
    37             Alameda County Treasurer             13294         5098    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              This matter has been resolved and settled
                                                        14033                 pursuant to procedures approved by this
    37             Pierce County, Washington            14034         5111    Court
                                                                              The hearing on the Debtors’ Motion for
                                                                              Partial Summary Judgment has been
    37             Los Angeles County                   13628         5113    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The hearing on the Debtors’ Motion for
                                                                              Partial Summary Judgment has been
    37             Monterey County                      14131         5113    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The hearing on the Debtors’ Motion for
                                                                      4788    Partial Summary Judgment has been
    37             Placer County, California            13291         4932    adjourned to July 13, 2011 at 2:00 p.m.




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 Omnibus                                                 Claim       Docket
                             Respondent                                                         Status1
Objection                                               Number       Number


                                                                              The status hearing on this response is
    60             Mark Stewart                          9295         6082    adjourned to July 13, 2011 at 2:00 p.m.


                   Tribune Company and Los                                    The status hearing on this response is
    70             Angeles Times Newspapers Inc.        13068         7255    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              This matter has been resolved and settled
                                                                              pursuant to procedures approved by this
    70             Seagate Technology LLC               14087         7257    Court and this claim has been withdrawn.


                                                                              Before the Plan’s Effective Date, this
                                                                              matter was resolved in principle, subject
                                                                              to completion of settlement
                                                                              documentation. No such documentation was
                                                                              received before the Effective Date. The
                                                                              claimant is now deceased. The estate
                                                                              must be probated prior to anyone having
                                                                              authority to sign the settlement
                                                                              agreement. Accordingly, the status
                                                                              hearing on this response is adjourned to
    76             Lei, Yu-Liang                        13307         7584    July 13, 2011 at 2:00 p.m.
                                                                              The claimant has agreed to the relief
                                                                              requested. This matter is adjourned to
                                                                              July 13, 2011 at 2:00 p.m. pending
    76             City of Avondale, Arizona            14496         7771    documentation of the agreement.




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 Omnibus                                                 Claim       Docket
                                Respondent                                                      Status1
Objection                                               Number       Number
                                                          2922                The status hearing on this response is
    79             Foster, William                        3001        7999    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    79             Eisner, Joanne                        3852         8003    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    79             Coleman, Dorothy                      2733         8016    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    79             Blackshear, Brenda                    4333         8017    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    79             Jardan, Sheila A.                     4006         8018    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    79             Evans, Joe                            3600         8030    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    79             Gibson, Thomas H.                     3995         8034    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              This matter has been resolved pending
                                                                              documentation of the settlement.

                                                                              The status hearing on this response is
    79             Martinez, Anthony                     9060         8035    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    79             Tully, M.D., Vincent                  1134         8041    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    79             Rollins, James                       14825         8054    adjourned to July 13, 2011 at 2:00 p.m.
                                                                              The status hearing on this response is
    79             Tinsley, Clementine                   4272         8055    adjourned to July 13, 2011 at 2:00 p.m.




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